(Case 2:11-cv-04434-PSG-MAN Document 3

Name: Norma Stilley

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c 2221 CENTRAL DISTRICT OF CALIFORNIA
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~ “3 (To be supplied by the Clerk)
PLAINTIFF, ) COMPLAINT FOR:
Vs. ) Dama ges
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)
) Jury Trial Demanded
DEFENDANTS). )
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IH. PARTIES
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4, Defendant Lancaster School Pyrsdrvet
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5. Defendant Mack (oes 5. Lancaster Scheol Distneh
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IV. STATEMENT OF FACTS

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V. CAUSES OF ACTION

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SECOND CAUSE OF ACTION

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VI. REQUEST FOR RELIEF

WHEREFORE, the Plaintiff requests:

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VU. DEMAND FOR JURY TRIAL

Plaintiff hereby requests a jury trial on all issues raised in this complaint.

Dated: | GS - 1 |

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Print Name: MOR MA oTILLEY
Plaintiff in pro per

Page Number

_ Case 2:11-cv-04434-PSGAMAND bof dingnt 3 Filed 05/31/11 Page 12 of 28 Page ID #:42
DATE: April 24, 2009

TO: Human Resources Services
LANCASTER SCHOOL DISTRICT
44711 North Cedar Avenue
Lancaster, CA 93534

FROM: STILLEY, NORMA

MARIPOSA
SUBJECT: Employment Intention for 2009/2010
Check one:

eT It is my intention to remain in the service of the Lancaster School District

/ for 2009/2010, and J accept the offer of employment. I further agree to have

on file by July 1, 2009 in the office of the Los Angeles County

Superintendent of Schools, a valid credential covering the position for
which Iam employed. I understand that my salary shall be determined
based on Class C Step 11 of the current salary schedule. (Please refer to
current salary schedule for placement and salary, plus longevily if
applicable.) a

———
it is my intewtion pot to remain in the services of the Lancaster School
District for 2009/2010, and I decline the offer of employment for the
following reason: (PLEASE SUBMIT A FORMAL RESIGNATION
TO HUMAN RESOURCES).
Resignation Date:
Remarks:

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Date Siphatfire

Return signed, completed form to your School! Secretary OR. Human Resources by:

May 15, 2009
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ee 2%, om 9 ;

#2 Lancaster School District

“hy oe "44711 North Cedar Avenue, Lancaster, CA 93534-3210 (661) 942-0431.
FAX (661) 942-7621

ucating Since F885

Linda Verde Elementary School
Lorraine Zapata, Principal

September 23, 2009

To: Norma Stilley

From: Lorraine Zapata

Re: Warning of Unsatisfactory Performance

On the following dates you engaged in the following conduct:

August 13, 2009 Mrs. Stilley arrived after the bell rang. Parents and students were waiting
outside her classroom.
Mrs. Stilley was called to ask a question about attendance. No attendance
was taken, Norma covered the phone and said, “Steven did you or I take
attendance?”. She did not know who took attendance, Steven is her son.
Steven Stilley wrote a student citation to students, Parent called to
complain. Wanted to know why a student was writing citations.

At 11:30 I had 4-5 first graders out of Mrs. Stilley’s class in the
bathrooms. I entered her class and reminded her that only one student
could be out of her class at a time.

August 14, 2009 When checking Ms. Stilley’s lesson plans, the standards used as focus
were 4"" grade standards. Mrs. Stilley has Silent Sustained Reading for 30
minutes. This is not developmentally appropriate for 1" graders who are
not reading fluently. | left a note.

August 17, 2009 (Grade level change). Mrs. Stilley is now a straight first. Noon-duty
reported that students were rurining in and out of the classroom going to
the bathroom during all recesses and lunch.

August 18, 2009 Two students had a fist fight in your class, sent home for the day.

August 29, 2009 Mrs. Stilley arrived after the bell rang. Parents and students were waiting
. outside her classroom.

August 25, 2009 Ms. Stilley’s son was choking another student from her class. | asked for

him not to return to our school to volunteer.
Literacy Coach did a demo lesson and observation.

Contidential/Corrected Copy Page | 9/25/2009
August 26, 2009

August 27, 2009

August 28, 2009

August 31, 2009

September 2, 2009

September 3, 2009

Confidential

Referral to office: “Nathaniel continues to fight with others in class and
refuses to da any work, In school suspension suggested/requested, Will
send work upon approval”, 12:07

Mrs, Stilley arrived after the bell rang. Parents and students were waiting
outside her classroom. :

Referral to office: Tianna has scissors from home and cut another
student’s hair, Also, she is not cooperating in class. Please talk to her
and possibly give her an in-school suspension or talk to mom. 9:45

No lesson plans available. I asked Mrs. Nestor to share her plans, to help
Mrs. Stilley.

Mrs, Stilley arrived after the bell rang. Parents and students were waiting
outside her classroom.

Referral to the office: Running around the classroom. Hit Austin on the
back, Not following procedures.

When visiting classes, | found Casey Stilley in Norma’s room. I told her
that this was not allowed and she was to go to class immediately. Mrs.
Stilley stated that her daughter did not feel safe and would not be
attending our school. She requested a zone exception from Mariposa and
will explore home schooling.

Literacy Coach did a demo lesson and observation.

*Parent requests her child to be moved out of Mrs. Stilley’s class. Says
that teacher said she will be fired from her job if the kids are not acting
good. The parent believes her child is not going to get the education she
deserves if she remains in this class.

12:02 You had a lost child (Kristen). I sent Mr. Carmona, the school
psychologist, to help you with classroom procedures and administer the
classroom checklist. Mrs. Stilley tried to give him students to see.

Referral to office: “Hit Jasmine in stomach, Khriston in eye, running in
class, climbing furniture. Please talk to him or in school suspension.”

Parent complaint regarding announcement fo other parents about her
child’s academic and behavior concerns. Told the parent that she is
having a problem getting a hold of the class. The parent stated that her
child is 5 and the teacher is an adult. What is the problem?

Literacy Coach did a demo lesson and observation.
Multiple parent complaints regarding 2 students left outside the classroom.
The door was shut on them and they were told to stand outside. Ms.

Stilley began class, leaving students outside unattended.

Report of student standing on the desk.

Page 2 9/25/2009
oe
__ Case 2:11-cv-04434-PSG-MAN Document Cis 08/34/11 | Page 18 of 28 Page ID #:48

September 4, 2009

September 8, 2009

September 9, 2009

September 14, 2009

September 21, 2009

September 22, 2009

September 23, 2009

Confidential

Four children out of classroom using the bathroom, jumping over the

railing and playing with Styrofoam swords.

Parent request to be moved out of Mrs. Stilley’s class. Her child is crying
because she does not feel safe in the classroom.

N was standing on the desk, jumped to shelf and then on top of cabinet.

Referral to office: “Hit Demaje, Nathan, Cedro, Adrian, Brandon at
recess. Please talk to him.”

Literacy Coach did a demo lesson and observation.

Instructional Assistant placed in Mrs. Stilley’s classroom for 3 hours.
Volunteer parents were checking computers and reported students
standing on desks, jumping on shelving and running around the classroom
out of control.

Parent requests out of Mrs. Stilley’s class, she states that her child is not
being taught the educational requirements,

Stilley called for sub, got one, then cancelled. Cailed Mrs. Stilley when
students were waiting outside her room. Stilley said Jeanette, in the office
told her to call a sub but was confused. We do not have an employee
named Jeanette, our employees are Maria, Alejandra, Kelly and Celeste.
Support staff had to cover her class.

Mrs. Zapata, Mrs. Esquivel, and Mrs. Sanchez moved classroom furniture,
curriculum, and desks around to accommodate learning.

Concern safety in the classroom. Mrs. Stilley stated, “Not the right
assignment, I’m thirsty in the classroom because of the medicine I am
taking.

Tiana was sent outside the classroom and the door was locked. She
knocked on the door and no one answered. She climbed through an open
window.

*Parent called 2" request to move her child out of Mrs. Stilley’s room.

Nathaniel was sent to the nurse’s office with a stab wound on the lower rib
cage area. The wound was deep. Another student stabbed him.

Parent request wanting her son out of Mrs. Stilley’s room feels unsafe in
the classroom.

Referral to office: “Brandon threw a book at other student's” 9:35
Referral to office: “Pressed fingers into Austin’s throat 2 times,” 11:45 -

Page 3 9/25/2009
_ Case 2:11-cv-04434-PSG-MAN Document §-F} ied b6/3if11. “age 19 of 28 Page ID #:49

Referral to office: “Tiana choked another student.” 10:01
This conduct violated:
ARTICLE X

2.0 Hours of work. Unit members must be on duty at least twenty (20) minutes before the
beginning of the class session and remain on duty for a reasonable length of time after the close
of the students’ regular school day to ensure the safe and orderly dismissal of the students.

5.0 In addition to assigned classroom teaching duties, teachers shall perform, as reasonably
required, their own instructional day duties, many of which may occur outside of scheduled
class hours and outside of regular school session hours. Such duties may include, but are not
limited to, planning and selecting and preparing materials for instruction; receiving and
evaluating work of pupils; conferring and counseling with pupils, parents, staff and
administrators; keeping records; supervising pupils; supervising and providing leadership of
pupil organizations and activities as assigned; attending faculty, departmental and grade level
meetings; serving on committees providing advice and service to the District; participating in
approved professional activities relating to the teaching assignment; studying current literature
to keep abreast of developments within the subject matter taught by the teacher; participating in
approved staff development programs; and assuming responsibility for the proper use and
control of District property, materials, supplics and equipment.

***See Attached MOU Article X Hours of Work Dated 5/29/09

ARTICLE XV
7.0 Any unit member, during the performance of his/her duties, may exert the same degree of

physical control over a pupil that a parent would be legally privileged to exercise but which, in
no event, shall exceed the amount of physical control reasonably necessary to maintain order,
protect property, or protect the health and safety of pupils. Law enforcement assistance will be
requested by the site administrator, or designee, when necessary to protect unit members.

ARTICLE XXVI
7.3 Each classroom will have an inventory of standard equipment and instructional materials

that are permanently housed in the classroom. Unit members will be responsible for all
equipment and materials on the inventory list during the time they are assigned to the
room and must account for all the materials and equipment each time they go on
intersession.

Your conduct negatively impacted the instructional program and the safety of students inasmuch
as the continued disregard for student safety caused several injuries in your classroom. Your
continued non use of district curriculum and time adherence is having a negative impact on
student achievement.

Effective immediately, you are to:

1. Implement a leveled discipline system for student behavior. Turn in your plan by

Monday September 28, 2009.
2. Maintain safety and order in the classroom. Ensure that students are always under the

supervision of a school employee.

Confidential . Page 4 9/25/2009
_. Case 2:11-cv-04434-PSG-MAN Document 3(€19) os/at/at Page 20 of 28 Page ID #:50

Follow the grade level lesson plans provided.

Turn in all emergency cards to the office for aff your students.

Maintain accurate attendance records.

Document reportable events relating to student health and safety.

Ensure that the classroom space is arranged so that it facilitates individual and group

instruction. Student work areas should be arranged to reduce interfering behaviors

and interaction.

8. Ensure that materials are organized prior to each instructional day.

9, Organizes overall instructional activities so that the maximum time on task is
provided.

10. Provide smooth transitions between lessons.

11. Follow the time for all curricular areas in your schedule.

12, Arrive to school,on time.

DAR YW

CLASSROOM DISCIPLINE CONTROL:

1. Provide methods of classroom behavior management techniques that are

appropriate, effective, consistently enforced and clearly defined

2. Ensure that appropriate management techniques are communicated to students,

parents, staff and administrators.

3. Ensure that any special student management plan or crisis intervention plan has
been documented in writing and included in the JEP, when appropriate.
Clearly establish routines for the classroom,

Ensure that the physical room environment facilitates learning.

Uphold standards of student behavior throughout the school.

Display student material to encourage positive successful behavior.

Ensure that relationships with students are based on mutual respect and

cooperation.

9. Control classroom noise so that appropriate instructional activity can be
conducted and distractions are kept at a minimum.

10. Ensure that students are properly supervised at all times.

11. Strive to be fair and consistent.

12. Demonstrate a positive and constructive style when dealing with behavior.

13. Avoid emotional overreactions to misbehavior.

14. Protect and maintain classroom, furnishings, material and supplies in a manner
that recognizes the need to maintain such items for their maximum life span.

15. Demonstrate an ability to be assertive with misbehavior.

16. Practice student control and restraint procedures in accordance with applicable
district/school policies.

aArNAWwS

To assist in correcting this conduct, I offer the following suggestions:
Review the California Standards for the Teaching Profession provided by the state of
California. Pay special attention to Creating and Maintaining Effective Environments for
student learning.

Work with the PAR provider on a regular basis.

Work with the literacy coach.

Confidential Page 5 9/25/2009
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Continue to follow your grade level's lesson plan, including time allowances for core
subjects.

A copy of this letter will be placed in your personnel file after 10 days. You may prepare a
response which will be attached to this document.

Confidential Page 6 9/25/2009
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_ Case 2:11-cv-04434-PSG-MAN meme) Pol | Page 22 of 28 Page ID #:52
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MEMORANDUM OF UNDERSTANDING
ARTICLE X
HOURS OF WORK

1.0 The District and the Association recognize the varying nature of a teacher's day-to-day
professional responsibilities.

3.0 Instructional time, unless modified by the procedure set forth in Section 3.2, shall be:

Modified Traditional

Kindergarten 200 minutes per day with a 10-minute break

1-3 305 minutes per day with a 50-minute lunch and one 15-minute a.m.
recess and one 10 - minute p.m. recess

4-5 320 minutes per day with a 45-minute lunch and one | 5-minute break

6-8 "329 minutes per day with a 40-minute lunch

All unit members (K-8) must be on duty at least twenty (20) minutes before the
beginning of the class session unless there is a prearranged parent meeting (SST,
TEP, etc.} In the event of inclement weather, teachers are required to report thirty
(30) minutes before the beginning of the class session. Teachers shall remain on
duty for a reasonable length of time after the close of the students’ regular school
day to ensure the safe and orderly dismissal of the students.

Middle School unit members (6-8) will-have one less staff meeting per month and
one additional day (non accumulative) of personal necessity to be prearranged with
and approved by the school administrator no less than ten (ten) school days ahead of

time.

For 2009-2010, it is agreed that teachers will attend two (2) days of Professional
Development for two (2) hours per day during the STAR Testing weeks, to be
determined by the district, in exchange for additional minimum days scheduled the

last week of school.

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ina Whipple, Negotiations Chair

Debbie Salter, TAL President Dr. Howard Sundberg, Superintendent

poe

Lexy Conge, Human Resources

Case 2:11-cv-04434-PSG-MAN ND Filed 05/31/11 Page 23 of 28 Page ID #:53

* Kaiser Permanente Dd) Page | of 1

KAISER PERMANENTE. thrive
This form contains your diagnosis.

ZAMBETTI, JOHN FRANCIS (M.D.}
43112 N 15th Street

Lancaster, CA 93534-6219
888-778-5000

Patient Name: Stilley X,Norma L
Encounter Date & Time: 9/29/2009 9:00 AM

Please see below for this health care provider's directives and information relating to this
encounter,

Work Status Report

Date onset of condition: 9/22/2009
Next Appointment Date:

DIAGNOSIS: CONCUSSION [850.9A]
Reason for Off Work: Cognitive Impairment

Off Work
This patient is. * Placed off work from 9/29/2009 through 10/5/2009

This form has been electronically signed and authorized by ZAMBETTT, JOHN FRANCIS (MI D) |

This form contains your private health information that you may choose to release to another party,
therefore please review for accuracy. -

Beinted Dar FARARET ERY WALTK an O/FO/INNO at 19-99-9N DM
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Case 2:11-cv-04434-PSG-MAN Docum iled 05/31/11 Page 24 of 28 Page ID #:54

Sine af California
Deparinent of Industrial Relations
DIMISION OF WORKERS COMPE 2NS SATION

Estado de Califarnia

Departanionto de Relaciones hdusiviales
DIVISION DE COMPENSACION AL TRABAJADOR
WORKERS’ COMPENSATION OFAPM NG RM (DWE 4) GEL. EAMIPLEADOG PARA DHE COATPENSACHIN DET.

TRABATADOR (DC 7)

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employer, Keep a copy and mark it Hmnpleyee’s Toinporary Receipt" enpleador, Quédese can la copia designada "Reciba 7 enporal del Hinpleado”
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to obtain them. , ¥ Jos provedimicnios pare obtenerlos

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6. Describe inky and part of hody affected. Deseriba ie lésién y parte del cuer ya afectads,
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7. Social Securiyy Number, Avinero de Seguro Social de

Signature of employee. Firma def empteado. .

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8. Name of employer. Monies ‘8 del cnipleadar.

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12. Date clan fon was provided to employee, Fecha cn que xe fe entresd al empleadde ia petician. —

3. Date employer received claim form, Fecher an que el pleader devatvid he peticidn al empleador..

14. Name and address of insurance carrier or adjusting a

IS. Insurance Policy mumber. EI arinerve dee bes poliza del seguro,

LG, Signature of employer representative. Firs ded representiuue del enipleador. ,

V?. Vide. Tadeo.

18. Velephone. Teléfona, _

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Case 2:11-cv-04434-PSG-MAN Document 3 Filed 05/31/11 Page 25 of 28 Page ID #:55

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY

This case has been assigned to District Judge Ronald 8. W. Lew and the assigned
discovery Magistrate Judge is Margaret A. Nagle.
The case number on all documents filed with the Court should read as follows:

CV1L1~ 4434 RSWL (MANx)

Pursuant to General Order 05-07 of the United States District Court for the Central
District of California, the Magistrate Judge has been designated to hear discovery related
motions.

All discovery related motions should be noticed on the calendar of the Magistrate Judge

NOTICE TO COUNSEL

A copy of this notice must be served with the summons and complaint on all defendants (if a removal action is
filed, a copy of this notice must be served on all plaintiffs).

Subsequent documents must be filed at the following location:

[X] Western Division Southern Division Eastern Division
312 N. Spring St., Rm. G-8 411 West Fourth St., Rm. 1-053 3470 Twelfth St., Rm. 134
Los Angeles, CA 90012 Santa Ana, CA 92701-4516 Riverside, CA 92501

Failure to file at the proper facation will resuit in your documents being returned to you.

CV-18 (03/08) NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY
Case 2 NYA AM34-BSB MAY Document 3 Filed 05/31/11 Page 26 of 28 Page ID #:56

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LANCASTER, cA F3536
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iN PRO PER

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CASE NUMBER

NORMA STILLEY

PLAINTIFF(S}
Y. :

LANCASTER School
bisTkicr

SUMMONS

DEFENDANT(S).

TO: DEFENDANT(S):_ LANCASTER SCHOOL. Di STRICT

A lawsuit has been filed agai

Within <- | days after service of this summons on you (not counting the day you received it), you

must serve on the plaintiff an answer to the attached-9 complaint (] amended complaint

(i counterclaim (] cross-claim or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer

or motion must be served on the plaintiffs attorney, Notena Stilley , Whose address is
4YUGS4 Shadowerest pr. Lancasrer , CA 43536 . If you fail to do so,

judgment by default will be entered against you for the relief demanded in the complaint. You also must file
your answer or motion with the court.

Clerk, U.S. District Court

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Dated: MAY 31 ah By:

[Use 60 days if the defendant is the United States ar a United States agency, or is an officer or employee of the United States. Allowed
60 days by Rule 12(a)(3)].

CV-O1A {12/07} SUMMONS
‘Case 2:11-cv-04434-PSG-MAN Document 3 Filed 05/31/11 Page 27 of 28 Page ID #:57

UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
CIVEL COVER SHEET

1 {a} PLAINTIFFS (Check box if you are representing yourself

Norma  Skille y

DEFENDANTS

Lancaster School Dishnct et al.

Atlomeys (if Known)
Keenan & Assectates

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(by Attomeys (Fim Name, Address and Telephone Number, Ef you are representing
yourself, provide sarne,)

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HL BASIS OF JURISDICTION (Place an X in one box anly.) 11. CITIZENSHIP? OF PRINCIPAL PARTIES - For Diversity Cases Only
{Place an X in one box for plaintiff'and one for defendant.)
(108, Government Plaintiff 113 Federal Question (U.S, PIF DEF PIF DEF
Government Not a Party) Citizen of This State (3! Ot — Incorporated or Principal Place O04 (4
of Business in this State
2 2U.S. Government Defendant 014 Diversity (lndicate Citizenship | Citizen of Another State G2 (12 Incorporated and Principal Place 5 05
of Parties in ftern 111) of Business in Another State
Citizen or Subject ofa Foreign Country [73> O13 Foreign Nation Ne 06

FV. ORIGIN (Place an X in one box only.)

Hf! Original (32 Removed fron: O13 Remanded from (4 Reinstatedor (15 Transferred from another district (specify): [16 Multi- [17 Appeal to District
Proceeding State Court Appellate Court Reopened District Judge from
Litigation Magistrate Judge

V. REQUESTED IN COMPLAINT:
CLASS ACTION under ELR.C,

P. 23; O Yes No

JURY DEMAND: £1 Yes No (Check ‘Yes’ only if demanded in complaint.)
O MONEY DEMANDED EN COMPLAINT: $

VE CAUSE OF ACTION (Cite the US. Civil Statute under which you are filing and write a brief statement of cause. Do not cite jurisdictional statutes unless diversity.)

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VER NATURE OF SUIT (Place an X in one box only.)

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FOR OFFICE USE ONLY: — Case Number: fi 4 A~ A S WW L. [ MA hx

AFTER COMPLETING THE FRONT SIDE OF FORM Cv-T, COMPLETE THE INFORMATION REQUESTED BELOW,

CV-71 (05/08) CIVIL COVER SHEET Page | of 2
‘Case 2:11-cv-04434-PSG-MAN Document 3 Filed 05/31/11 Page 28 of 28 Page ID #:58

UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
CIVIL COVER SHEET

VItifs). IDENTICAL CASES: Has this action been previously filed in this court and dismissed, remanded or closed? No (Yes
Tf yes, list case number(s}:

M.S:
VHI(b). RELATED CASES: Have any cases been previously filed in this court that are related to the present case? Ef No Yes
If yes, list case number(s):

Civil cases are deemed related if a previously filed case and the present case:
(Cheek all boxes that apply) [1 A. Arise fiom the same or closely related transactions, happeaings, or events; or
(9B. Call for determination of the same or substantially related or similar questions of law and fact; or
OC. For other seasons would entail substantial duplication of labor if heard by different judges; or
CID. Involve the same patent, trademark or copyright, and one of the factors identified above in a, b orc also is present.

IX, VENUE: (When completing the following information, use an additional sheet if necessary.)

(a) List the County in this District; California County outside of this District; State if other than California; or Foreign Country, in which EACH named plaintiff resides.
(1 Cheek here if the government, its agencies or employees is a named plaintiff. 1f this box is checked, go to item (6).

County in this Disinct:* California County outside of this District; State, if other than California; or Foreign Country

Loos Ang eles

(b) List the County in this District; California County outside of this District; State if other than California; or Foreign Country, in which EACH aamed defendant resides.
—) Check here if the government, its agencies or employees is a named defendant, Hf ihis box is checked, po to item (Cc).

County in this Districe:* California County outside of this District; State, if other than California; or Foreiga Country

{c) List the County in this District; California County outside of this District; State if other than Califomia; or Foreign Country, in which EACH claim arose.
Note: In land cendenmation cases, use the location of the tract of land involved,

County in this District;* California County outside of this District; State, if other than California; or Foreign Country

ies Angeles

* Los Angeles, Orange, San Bernardino, Riverside, Ventura, Santa Barbara, or San Luis Obispo Counties
Note: in land condemnation cages, use the location of the tract of land involved

Date S/23/%

X. SIGNATURE OF ATTORNEY (OR PRO PER):

Notice ta Counsel/Parties: ‘The CV-71 (13-44) Civil Cover Sheet and the information contained herein neither replace nor supplement the filing and service of pleadings
or other papers as required by law. This form, approved by the Judicial Conference of the United States in September 1974, is required pursuant to Local Rule 3-f is not filed
but is used by the Clerk of the Court for the purpose of statistics, venue and initiating the civil docket sheet. (For more detailed instructions, see separate instructions sheet.)

Key to Statistical codes relating to Social Security Cases:

Nature of Suit Code Abbreviation Substantive Statement of Cause of Action

861 HIA Alf claims for health insurance benefits (Medicare) under Title 18, Part A, of the Social Security Act, as amended.
Also, include claims by hospitals, skilled nursing facilities, ete., for certification as providers of services under the
program. (42 U.S.C, 1935FF(b)}

862 BL All claims for “Black Lung” benefits under Title 4, Part B, of the Federal Coat Mine Health and Safety Act of 1969.
(GO ULS.C, 923)

863 DIWC All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as
amended; plus alf claims filed for child’s insurance benefits based on disability. (42 ULS.C. 405(g))

863 DIwW All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security
Act, as amended. (42 U.S.C. 405(2))

864 SSID All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security
Act, as amended.

865 RSI All claims for retirement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended. (42
U.S.C. (8)

CV-71 (05/08) CIVIL COVER SHEET Page 2 of 2
